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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
 9      BERNADEAN RITTMANN, et al.,                          CASE NO. C16-1554-JCC
10                              Plaintiffs,
                                                             MINUTE ORDER
11              v.

12      AMAZON.COM, INC., et al.,
13                              Defendants.
14
            The following Minute Order is made by direction of the Court, the Honorable John C.
15
     Coughenour, United States District Judge:
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17          This matter comes before the Court on Defendants’ motion to enforce a prior discovery

18 order, for a protective order, and to set certain deadlines prior to potential class certification (Dkt.

19 No. 339). Plaintiffs do not dispute that certain opt-in Plaintiffs have yet to comply with this

20 Court’s July 30, 2024, order compelling discovery. (See Dkt. Nos. 346 at 5–6, 326 at 2.) They

21
     acknowledge that any unresponsive Plaintiffs are subject to dismissal. (Dkt. No. 346 at 5.)
22
     Plaintiffs also do not oppose the discovery and briefing schedule proposed by Defendants. (Id. at
23
     7.) They do, however, express concern about further delay of a previously scheduled Rule
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25 30(b)(6) deposition. (Id. at 7–9.) Defendants do not maintain their request for a protective order

26 in their most recent briefing; instead, they indicate they are amenable to scheduling the Rule


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     30(b)(6) deposition before the deadline. (See Dkt. No 350 at 7–8.)
 1

 2          Finding good cause, the Court establishes the following pre-certification deadlines:

 3
                          Event                                           Deadline
 4
      Deadline for Plaintiffs to Produce Discovery   November 8, 2024
 5    from Opt-In Plaintiffs Pursuant to Court
      Order (Dkt. No. 326)
 6    Deadline for Plaintiffs to take the Rule       December 6, 2024
 7    30(b)(6) deposition and for Defendants to
      Complete Plaintiff and Opt-In Depositions,
 8    prior to which Defendants may move to
      compel discovery from the Named Plaintiffs
 9    if deficiencies are not resolved
10    Deadline for Plaintiffs to file Motion for     December 27, 2024
      Class Certification
11
      Deadline for Defendants’ Renewed Motion        December 27, 2024
12    to Compel Arbitration

13    Deadline for Defendants’ Opposition to         February 28, 2025
      Motion for Class Certification
14    Deadline for Plaintiffs’ Reply in support of   March 21, 2025
15    the Motion for Class Certification

16
     Any opt-in Plaintiffs who are unresponsive to the discovery previously ordered (Dkt. No. 326)
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     by the deadline above shall be dismissed from this action.
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20          DATED this 29th day of October 2024.

21
                                                           Ravi Subramanian
22                                                         Clerk of Court
23                                                         s/Kathleen Albert
                                                           Deputy Clerk
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